Case 3:18-cv-00428-DMS-MDD Document 367 Filed 03/05/19 PageID.5495 Page 1 of 1



   1                       UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF CALIFORNIA
   2

   3   Ms. L., et al.,                                  Case No. 18-cv-00428-DMS-MDD
   4                       Petitioners-Plaintiffs,
       v.
   5                                                    Date Filed: July 25, 2018
     U.S. Immigration and Customs Enforcement, et
   6 al.,                                               ORDER GRANTING
                                                        PLAINTIFFS’ MOTION TO
   7                                                    FILE OVERLENGTH REPLY
                             Respondents-Defendants.    BRIEF
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             Upon consideration of the Plaintiffs’ Motion to File Overlength Reply Brief,
  11   the motion is hereby GRANTED.
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       SO ORDERED this 5th day of March , 2019.
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